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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

 UNITED STATES OF AMERICA

 v.                                               Case No. 4:18cr76-RH/EMT

 JOHN THOMAS BURNETTE,

                Defendant.

 _______________________________/

         UNOPPOSED MOTION TO EXTEND TIME TO FILE
      OPPOSITION TO MOTION FOR JUDGMENT OF ACQUITTAL

       1.      The United States hereby moves this court to extend the time for the

government to file its opposition to the defendant’s Renewed Motion for Judgment

of Acquittal (ECF No. 483).

       2.      On September 13, 2021, the defendant filed a motion for acquittal after

being granted an extension to file such motion by this Court after trial. Pursuant to

the local rules, the government’s opposition is due on September 27, 2021.

       3.      The government seeks additional time to respond to the defendant’s

motion, to October 18, 2021, but not past the defendant’s currently set sentencing

date of October 28, 2021.

        4.     Counsel for the defendant do not object to this Motion.

                          Respectfully submitted on September 22, 2021,
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of this motion has been filed via the

CM/ECF filing system on this 22nd day of September 2021, and thereby has been

provided to counsel for defendant Burnette.

                                          /s/ Peter M. Nothstein
                                          Peter N. Nothstein
                                          Deputy Chief

                     CERTIFICATE OF CONFERENCE

      I HEREBY CERTIFY that counsel for defendant Burnette has indicated

that he does not object to this Motion.

                                          /s/ Peter M. Nothstein
                                          Peter N. Nothstein
                                          Deputy Chief


                    LOCAL RULE 7.1(F) CERTIFICATE

      I HEREBY CERTIFY that, in accordance with NDFL Local Rule 7.1(F),

this motion does not exceed 8,000 words.


                                          /s/Peter M. Nothstein
                                          Peter M. Nothstein
                                          Deputy Chief
